                          IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA
                                  CAUSE NO. 1:16-cv-00370


TIMOTHY H. CHAPMAN, as
Administrator of the Estate of
ALMA P. CHAPMAN                                                                         Plaintiff

v.

SSC CONCORD OPERATING
COMPANY LLC (dba "Brian Center
Health & Retirement/Cabarrus"), a
Delaware Limited Liability Company                                                      Defendant


                            JOINT STIPULATION OF DISMISSAL


           COME NOW the parties, Timothy H. Chapman, as Administrator of the Estate of Alma P.

Chapman, by and through counsel, and SSC Concord Operating Company d/b/a Brian Center

Health and Retirement/Cabarrus, by and through counsel, and stipulate that all claims of the

Plaintiff against SSC Concord Operating Company LLC d/b/a Brian Center Health &

Retirement/Cabarrus as described in the Complaint are due to be dismissed with prejudice, costs

taxed as paid. As grounds for said stipulation of dismissal, the parties state as follows:

           1.    The claims of the Plaintiff have been resolved to the mutual satisfaction of the

parties.

           WHEREFORE, PREMISES CONSIDERED, Timothy H. Chapman, as Administrator of

the Estate of Alma P. Chapman and SSC Concord Operating Company d/b/a Brian Center Health

and Retirement/Cabarrus respectfully request this Court dismiss these claims with prejudice, costs

taxed as paid.




       Case 1:16-cv-00370-LCB-JLW Document 22 Filed 05/08/17 Page 1 of 3
       Respectfully submitted this, the 8th day of May, 2017.

PLEASANT LAW, PLLC                                   HAGWOOD ADELMAN TIPTON PC

BY: /s/ Thomas W. Pleasant                           BY:    /s/ Michael E. Phillips
    Thomas W. Pleasant (NCBN 28480)                         Michael E. Phillips (NCBN 45198)
                                                            Carl Hagwood (NCBN 43919)
                                                                   Attorneys for Defendant
LAW OFFICE OF DAVID PISHKO, P.A.

BY: /s/ Anna Kalarites
       Anna Kalarites (NCBN 47849)
       Attorneys for Plaintiff



                                CERTIFICATE OF SERVICE

      This is to certify that the undersigned has this day served the foregoing document on all of
the parties to this cause by:

_____ Hand delivering a copy hereof to each party’s attorney as listed below

_____ Depositing a copy hereof, postage paid, in the United States Mail, addressed to each
      party’s attorney as listed below

_____ Depositing a copy hereof with a nationally recognized overnight courier service, for
      overnight delivery, addressed to each party’s attorney as listed below

_____ Telecopying a copy hereof to each party’s attorney as listed below

_____ Electronically filing a copy of hereof with the Court’s electronic case filing system which
      will send electronic mail notification of the filing of the foregoing document to each
      party’s attorney as listed below

 X    Sending via electronic mail to each party’s attorney as listed below

               David Pishko (david@davidpishko.com)
               Anna Kalarites (anna@davidpishko.com)
               Law Office of David Pishko, P.A.
               100 North Cherry Street, Suite 510
               Winston-Salem, NC 37101




                                                                                                    2



      Case 1:16-cv-00370-LCB-JLW Document 22 Filed 05/08/17 Page 2 of 3
       Thomas W. Pleasant (twp@pleasantlaw.com)
       Pleasant Law, PLLC
       P.O. Box 565
       Wrightsville Beach, NC 28480

This, the 8th day of May, 2017.

                                       /s/ Michael E. Phillips
                                       Michael E. Phillips




                                                                    3



Case 1:16-cv-00370-LCB-JLW Document 22 Filed 05/08/17 Page 3 of 3
